            Case 1:20-cr-01954-KWR Document 36 Filed 07/07/21 Page 1 of 4




                       IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

                               Plaintiff,

vs.                                                                   CR. NO. 20-1954 KWR


PETER GARCIA,

                               Defendant.

                     UNOPPOSED MOTION TO CONTINUE TRIAL
                  AND MOTION TO EXTEND TIME TO FILE MOTIONS

       The Defendant Peter Garcia (Mr. Garcia), through his undersigned counsel, respectfully

moves the Court to continue the trial currently set for July 12, 2021 for ninety (90) days, and to

grant a corresponding extension of time to file motions. As grounds for this motion, Mr. Garcia

would show the Court the following:

       1.       Mr. Garcia was indicted on October 28, 2020, on a single count of Felon in

Possession of a Firearm, in violation of 18 U.S.C. § 922(g)(1), Doc. 4. Mr. Garcia was arraigned

in this case on January 22, 2021, Doc. 18.

       2.       On June 25, 2021, an Order was entered in this case granting prior CJA counsel’s

motion to withdraw from this case, Doc. 33. Undersigned counsel was appointed to represent Mr.

Garcia on June 25, 2021, Doc. 34.

       3.       Undersigned and newly appointed counsel will be meeting Mr. Garcia for the first

time this week and is in the process of obtaining all the discovery in this case.
            Case 1:20-cr-01954-KWR Document 36 Filed 07/07/21 Page 2 of 4




       4.       Based on initial discovery obtained from prior counsel and discussions with prior

counsel, there is extensive video and hard copy discovery that undersigned counsel will need to

review to effectively represent and defend Mr. Garcia.

       5.       The constitution’s guarantee of effective assistance of counsel includes adequate

time to prepare for trial. Reversing the district court’s denial of a motion for continuance of trial,

the Eleventh Circuit spoke to this important principle:

       While we appreciate the heavy caseloads under which the district courts are
       presently operating and understand their interest in expediting trials, we feel
       compelled to caution against the potential dangers of haste, and to reiterate that an
       insistence upon expeditiousness in some cases renders the right to defend with
       counsel an empty formality. In our system of justice, the Sixth Amendment's
       guarantee to assistance of counsel is paramount, insuring the fundamental human
       rights of life and liberty. The Sixth Amendment stands as a constant admonition
       that if the constitutional safeguards it provides be lost, justice will not still be
       done.” Gideon v. Wainwright, 372 U.S. 335, 343, 83 S. Ct. 792, 796, 9 L. Ed. 2d
       799 (1963) (citation and quotations omitted).

       Implicit in this right to counsel is the notion of adequate time for counsel to
       prepare the defense: Disposition of a request for continuance … is made in the
       discretion of the trial judge, the exercise of which will ordinarily not be reviewed.
       But the denial of opportunity for appointed counsel to confer, to consult with the
       accused and to prepare his defense, could convert the appointment of counsel into
       a sham and nothing more than a formal compliance with the Constitution's
       requirement that an accused be given the assistance of counsel. The Constitution's
       guarantee of assistance of counsel cannot be satisfied by mere formal
       appointment. Avery v. Alabama, 308 U.S. 444, 446, 60 S. Ct. 321, 322, 84 L. Ed.
       377 (1940) (footnotes omitted) (emphasis added). This case presents an instance
       where a court, in its haste, denied compelling unopposed motions for continuance
       and in so doing eviscerated one of the Sixth Amendment's essential safeguards.
       As a result, justice has not been done.

United States v. Verderame, 51 F.3d 249, 252 (11th Cir. 1995). As recently appointed

undersigned counsel requires adequate time to continue his evaluation of all discovery and

effectively represent Mr. Garcia.




                                                  2
             Case 1:20-cr-01954-KWR Document 36 Filed 07/07/21 Page 3 of 4




        6.       Effective assistance of counsel requires the evaluation and discussion of plea

possibilities. Missouri v. Frye, 566 U.S. 133 (2012).

        7.       Given the possibility of a settlement of this cause, a continuance aimed at

avoiding an unnecessary trial and conserving judicial resources serves the purposes of the

Speedy Trial Act. See, Connolly v. United States, 2013 WL 530869 (D.N.J. 2013) (unpublished)

(waste of prosecutorial and judicial resources and delay in the trial of other cases is contrary to

the objectives underlying the Speedy Trial Act of 1974, 18 U.S.C. § 3161 et seq.); United States

v. Stanton, 94 F.3d 643, 1996 WL 465841 (4th Cir. 1996) (unpub'd) (“it is also clear that the

obvious reason the district court granted the motion was to conserve judicial resources by

avoiding potential piecemeal litigation, and this justified an ends of justice finding under

3161”); United States v. Stradford, 394 F. App’x 923, 927, 2010 WL 3622995 (3rd Cir. 2010)

(unpub'd) (affirming the grant of a continuance for several reasons including time to discuss plea

negotiations and the continuance would likely conserve judicial resources).

        8.       The requested continuance will not give rise to a Speedy Trial Act violation. The

additional time required by the continuance may properly be excluded under 18 U.S.C. §

3161(h)(7) on the ground that the ends of justice served by the continuance outweigh the best

interest of the public and the defendant in a speedy trial. In particular, failure to grant the

continuance would "deny counsel for the defendant [and] the attorney for the government the

reasonable time necessary for effective preparation, taking into account the exercise of due

diligence." 18 U.S.C. § 3161(h)(7)(B)(iv).

        9.       Opposing counsel, AUSA Eva Fontanez, does not oppose the relief requested.

        WHEREFORE, Mr. Garcia respectfully moves this Court to vacate the trial setting of July

12, 2021, and continue said trial for approximately ninety (90) days, and to grant a corresponding

                                                   3
         Case 1:20-cr-01954-KWR Document 36 Filed 07/07/21 Page 4 of 4




extension of time to file motions.



                                           Respectfully Submitted:

                                           By: /s/ Joe M. Romero, Jr.
                                           Joe M. Romero, Jr.
                                           ROMERO & WINDER, PC
                                           Attorney for Plaintiffs
                                           P.O. Box 22543
                                           Albuquerque, NM 87125-5543
                                           Phone: (505) 843-9776
                                           Fax: (505) 212-0273
                                           joe@romeroandwinder.com




                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 7th day of July 2020, I filed the foregoing electronically
through the CM/ECF system, and served the same to opposing counsel, AUSA Eva Fontanez.

By:    /s/ Joe M. Romero, Jr.
       Joe M. Romero, Jr.




                                              4
